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                                Nebraska Court of A ppeals A dvance Sheets
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                                                IN RE INTEREST OF HLA H.
                                                   Cite as 25 Neb. App. 118



                                        In   re I nterest of  Hla H., a child
                                                under  18 years of age.
                                             State of Nebraska, appellee,
                                                 v. H la H., appellant.
                                                      ___ N.W.2d ___

                                         Filed October 10, 2017.    No. A-16-739.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches its conclusions indepen-
                    dently of the juvenile court’s findings.
                2.	 Statutes: Judgments: Appeal and Error. The meaning of a statute is a
                    question of law, which an appellate court resolves independently of the
                    trial court.
                3.	 Juvenile Courts: Rules of Evidence. The Nebraska Evidence Rules
                    control adduction of evidence at an adjudication hearing under the
                    Nebraska Juvenile Code.
                4.	 Rules of Evidence: Hearsay: Appeal and Error. Apart from rulings
                    under the residual hearsay exception, an appellate court reviews for
                    clear error the factual findings underpinning a trial court’s hearsay rul-
                    ing and reviews de novo the court’s ultimate determination to admit
                    evidence over a hearsay objection.
                5.	 Rules of Evidence: Hearsay: Words and Phrases. Neb. Evid. R.
                    801, Neb. Rev. Stat. § 27-801(3) (Reissue 2016), defines hearsay as
                    a statement, other than one made by the declarant while testifying at
                    the trial or hearing, offered in evidence to prove the truth of the matter
                    asserted. One definition of “statement,” for the purposes of the Nebraska
                    Evidence Rules, is an oral or written assertion.
                6.	 Hearsay. If an out-of-court statement is not offered for proving the truth
                    of the facts asserted, it is not hearsay.
                7.	 Rules of Evidence: Hearsay. Apart from statements falling under the
                    definitional exclusions and statutory exceptions, the admissibility of an
                    out-of-court statement depends upon whether the statement is offered
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                         IN RE INTEREST OF HLA H.
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     for one or more recognized nonhearsay purposes relevant to an issue in
     the case.
 8.	 Hearsay: Words and Phrases. A verbal act is a statement that has legal
     significance, i.e., it brings about a legal consequence simply because it
     was spoken. Words that constitute a verbal act are not hearsay even if
     they appear to be.
 9.	 Hearsay. Verbal acts, also known as statements of legal consequence,
     are not hearsay, because the statement is admitted merely to show that it
     was actually made, not to prove the truth of what was asserted in it.
10.	 ____. A nonhearsay purpose for offering a statement does exist when a
     statement has legal significance because it was spoken, independent of
     the truth of the matter asserted.
11.	 Rules of Evidence. Neb. Evid. R. 902, Neb. Rev. Stat. § 27-902     (Reissue 2016), states that certain documents are self-authenticating and
     extrinsic evidence of authenticity as a condition precedent to admissibil-
     ity is not required.
12.	 Rules of Evidence: Proof. Neb. Evid. R. 901, Neb. Rev. Stat.
     § 27-901(1) (Reissue 2016), does not impose a high hurdle for authen-
     tication or identification. A proponent of evidence is not required to
     conclusively prove the genuineness of the evidence or to rule out all
     possibilities inconsistent with authenticity. If the proponent’s showing is
     sufficient to support a finding that the evidence is what it purports to be,
     the proponent has satisfied the requirement of rule 901(1).
13.	 Evidence: Testimony: Proof. Authentication of letters may be provided
     by testimony.
14.	 Juvenile Courts: Public Officers and Employees: Minors. Neb. Rev.
     Stat. § 43-276(2) (Reissue 2016) requires that prior to filing a petition
     alleging that a juvenile is a juvenile as described in Neb. Rev. Stat.
     § 43-247(3)(b) (Supp. 2015), the county attorney shall make reasonable
     efforts to refer the juvenile and his or her family to community-based
     resources available to address the juvenile’s behaviors, provide crisis
     intervention, and maintain the juvenile safely in the home.
15.	 Statutes: Appeal and Error. Statutory language is to be given its plain
     and ordinary meaning; an appellate court will not resort to interpreta-
     tion to ascertain the meaning of statutory words which are plain, direct,
     and unambiguous.

  Appeal from the Separate Juvenile Court of Lancaster
County: Toni G. Thorson, Judge. Affirmed.
   Joe Nigro, Lancaster County Public Defender, and James G.
Sieben for appellant.
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                    IN RE INTEREST OF HLA H.
                       Cite as 25 Neb. App. 118
  Joe Kelly, Lancaster County Attorney, and Maureen E.
Lamski for appellee.
  Pirtle, Bishop, and A rterburn, Judges.
  Bishop, Judge.
                      I. INTRODUCTION
   Hla H. appeals the order of the separate juvenile court of
Lancaster County adjudicating him as a juvenile within the
meaning of Neb. Rev. Stat. § 43-247(3)(b) (Supp. 2015) for
being habitually truant from school between August 12 and
December 18, 2015. At issue in this case is whether the office
of the Lancaster County Attorney (County Attorney) fulfilled
the statutory duty to make reasonable efforts to refer Hla and
his family to community-based resources prior to filing the
juvenile petition. We conclude that the County Attorney did,
and we therefore affirm the decision of the juvenile court.
                      II. BACKGROUND
   On January 19, 2016, the State filed a petition alleging
that Hla, born in July 2000, was a juvenile within the mean-
ing of § 43-247(3)(b), because he was habitually truant from
school between August 12 and December 18, 2015. The
State alleged:
        Further, a description of the efforts made by the County
     Attorney to refer the juvenile and family to community-
     based resources available to address the juvenile’s behav-
     ior, provide crisis intervention, and maintain the juvenile
     safely in the home is as follows:
        1. On or about October 26, 2015, a letter from the
     Lancaster County Attorney’s office was provided to Eh
     [P.] [Hla’s mother] which a) referred the family to a
     guide of available resources in Lancaster County; b)
     encouraged the family to work closely with the school to
     access those or other resources; and c) provided informa-
     tion about how to contact the county’s Truancy Resource
     Specialist if the student/family needed assist­     ance in
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      accessing appropriate services to overcome any barri-
      ers to regular school attendance that the student/family
      [was] encountering.
   An adjudication hearing was held on June 20 and 23,
2016. Hla and his mother, Eh P., were present at the hearing.
Because Eh’s native language is Karen, an interpreter was
also present.
   The State’s only witness was Matthew Gerber, an instruc-
tional coordinator at Hla’s school. Gerber works with students
regarding behavioral concerns, attendance, scheduling, and “all
the general responsibilities of the student’s education.” He
worked with Hla during the 2015-16 school year.
   Exhibit 1, a “Conference Absence Report,” was received
into evidence without objection. The report contained a number
of codes such as “TR” and “TD.” Gerber testified that “TR”
means “truant” and indicates that the student was absent during
that period of the day. “TD” means “tardy” and indicates that
the student arrived late to that class period. The report showed
that in the fall of 2015, Hla had numerous truancies and tar-
dies in August, September, and October (and by December 18,
he had anywhere from 22 to 38 unexcused absences for each
class period).
   According to Gerber, the school worked with Hla to help
him improve his attendance. One of the “primary interven-
tions” the school used was a “collab[o]rative plan meeting”
held on October 26, 2015. The meeting was attended by the
school’s attendance team leader, Hla, Eh, an interpreter, and
Gerber. The purpose of the collaborative plan meeting was to
determine if there was anything preventing Hla from attending
school and to determine any “supports” that could be provided
to help improve attendance.
   At the collaborative plan meeting, it was noted that Hla
had already missed a significant amount of school and that if
he continued to miss school, his grades would suffer and he
would be referred to the County Attorney once he accumulated
20 days of absences. Hla’s attendance record was provided
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and explained to Eh, outlining the number of absences Hla
had by October 26, 2015. Exhibit 2, the “Collaborative Plan”
for the meeting, was received into evidence over Hla’s hear-
say objection (not challenged on appeal). Gerber testified that
exhibit 2 was the agenda for the meeting, and he outlined a
series of questions that were asked of Hla and Eh to determine
if there were any barriers to school attendance. Neither Hla
nor Eh provided any explanation as to why Hla was miss-
ing school. The collaborative plan shows that the attendees
considered the following to reduce barriers to improve attend­
ance: illness, educational counseling, educational evaluation,
referral to community agencies for economic services, family
or individual counseling, and assisting the family in work-
ing with community services. The form indicates that illness
was not a barrier to attendance, and it was determined that
none of the listed actions were needed “to reduce barriers to
improve regular attendance.” All attendees signed the collab-
orative plan.
   At the October 2015 meeting, Hla and his family were
given a letter from the County Attorney outlining “[attendance]
expectations and possible consequences, as well as resources
and places to go for further information.” As previously noted,
Hla and Eh both signed the collaborative plan (exhibit 2), and
Eh initialed the line indicating that she had been provided a
copy of the County Attorney’s letter. The County Attorney’s
letter, exhibit 3, was received into evidence over Hla’s hearsay
and foundation objections. The letter refers families to a school
district website for a guide of available resources and encour-
ages families to work with the school to access those or other
resources. The letter also provides the contact information
for the “Truancy Resource Specialist,” who was available to
assist the family in accessing resources. Gerber said this letter
is given to all families during collaborative plan meetings at
the school.
   Gerber testified that the attendance team leader explained
the purpose of the County Attorney’s letter, and this was
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interpreted for Eh, but that the interpreter did not translate
any specific part of the letter for Eh during the meeting.
Gerber believed the interpreter could explain the contents
of the letter at the request of the family, but the “word-for-
word” translation “couldn’t be done during the meeting.”
There was an opportunity for questions related to the letter,
but neither Hla nor Eh indicated they had any questions and
neither requested additional services or support from the
school to help improve Hla’s attendance. Had additional serv­
ices or support been requested, Gerber said he would have
assisted the family in making connections with the appro-
priate resources. Gerber was asked if Eh was referred to an
interpreter service that could be utilized “to try to put these
possible community agencies at their disposal.” He responded,
“No, they were not referred to an interpreter service.” After
the October 2015 meeting, Gerber continued monitoring Hla’s
attendance, but his “attendance continued in a negative trajec-
tory” until December 18, when the matter was referred to the
County Attorney.
   After the State rested, Hla moved to dismiss, arguing that
Nebraska truancy law requires the County Attorney to make
reasonable efforts to refer Hla’s family to community services
and that because exhibit 3 (meant to be a referral to services)
was not translated for Eh, she did not receive that letter and
the State did not meet its burden to prove that she received the
referrals. The juvenile court overruled Hla’s motion to dismiss,
and Hla proceeded with his evidence.
   Eh testified via an interpreter. She understood that during
the fall of 2015, Hla was missing a lot of school. She tried
her best “to tell him and to teach him that he needs to go to
school.” Eh received telephone calls from the school regarding
Hla’s attend­ance. She attended a meeting at the school con-
cerning her son’s attendance, and an interpreter was present.
When counsel showed her exhibit 3 (the County Attorney’s
letter), Eh stated that she could not read it and did not recog-
nize it; she cannot read English. She acknowledged, however,
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that at the meeting, an interpreter did tell her how to access
the serv­ices mentioned in the letter. Eh also acknowledged that
when asked at the meeting if she had any questions about the
letter, Eh said she did not have any questions. Eh testified that
the interpreter also gave Eh a telephone number to use “for
help.” Eh was aware that Hla continued to miss school from
the time of the meeting up until December 18.
   Eh testified that the interpreter from the October 2015 meet-
ing gave Eh her (the interpreter’s) personal telephone number.
When asked if she used interpreters for anything outside of
school, Eh said “yes.” For example, if she received letters or
bills in the mail, Eh said, “I have a teacher and I give it to her.”
At the time of the adjudication hearing, Eh had not had this
teacher very long, and the teacher did not attend the October
2015 meeting at the school. Eh also testified that although Hla
does not speak fluent English, he is able to function in a school
setting speaking English without an interpreter.
   Jared Gavin is a social worker with the Lancaster County
public defender’s office. He was previously employed with the
probation department of the Nebraska Supreme Court, where
he helped with juvenile reform efforts. Gavin has viewed doc-
uments identical or substantially similar to exhibit 3 (County
Attorney’s letter) in the past. His understanding is that the
purpose of the letter is “for the County Attorney to notify a
family that assistance is available and that they were being
charged with a truancy case in Lancaster County.” The letter is
written in English, and he had never seen one written in a dif-
ferent language. Gavin is familiar with the website referenced
in the letter and had reviewed the website approximately a
week before the hearing. According to Gavin, the website is
in English and “has the traditional header for Lincoln Public
Schools and lists resources available in the community. It’s got
approximately 18 headers and 93 separate links”; the major-
ity of the links were in English, and he never “[came] across
a link in Karen.” The website also contained a telephone
number for an interpretive service line. Gavin has called the
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number on numerous occasions, and each time the person who
answered spoke English.
   During closing arguments, the State argued that Hla had
missed a significant amount of school during the first 4 months
of the 2015-16 school year. A formalized intervention was
held in October 2015, with an interpreter present to assist the
family’s understanding. Eh was aware of Hla’s attendance
problems, understood the purpose of the meeting, and had no
additional questions at the meeting. The State contends that the
statutory requirement regarding reasonable efforts was met and
that the State met its burden of proving the allegations in the
truancy petition.
   Hla argued that the only issue in the case was whether rea-
sonable efforts were made to refer the family to community-
based resources and that the burden is on the State to show
these referrals were made. He contends that because Eh did
not understand the County Attorney’s letter and because the
letter was not translated for her, she did not receive the letter
the same way a similarly situated English-speaking or English-
reading parent would have. Additionally, the services refer-
enced in the letter were not available in Eh’s native language.
Accordingly, it was Hla’s position that the “school” did less
than is required to be considered a reasonable effort.
   The juvenile court entered an order on July 19, 2016, find-
ing that Hla was a juvenile as defined by § 43-247(3)(b) for
being habitually truant from school between August 12 and
December 18, 2015. The court found:
      It is significant that [Eh], when she testified, expressed
      concern about [Hla’s] failure to attend school and her
      own efforts to encourage school attendance and that she
      tried her best to “tell him and teach him” that he needed
      to attend school. [Eh] clearly wants [Hla] to attend school
      and appears to have difficulty helping him achieve that
      goal of regular attendance.
The court found that the “school’s actions” met the statu-
tory requirements to assist Hla in correcting his truancy and
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that “[f]ailure to comply with statutory requirements by the
school is not a defense in this case.” (The juvenile court
never specifically discussed whether the County Attorney com-
plied with the statutory requirements pursuant to Neb. Rev.
Stat. § 43-276(2) (Reissue 2016).) Finally, the court found
that “[i]n this case[,] clearly excessive absenteeism has been
shown, [and] no defense has been presented to that absentee-
ism that would cause a finding [that] the petition shouldn’t be
adjudicated.” Hla timely appealed the juvenile court’s order.

               III. ASSIGNMENTS OF ERROR
   Hla assigns that the juvenile court erred in finding there
was sufficient evidence to prove that he had been habitually
truant as alleged in the petition, because of the following: (1)
Exhibit 3, a necessary component to prove the State’s case, was
improperly received over his hearsay and foundation objec-
tions, and (2) even if exhibit 3 was validly received, there was
insufficient evidence to find that the County Attorney made
reasonable efforts to refer him and his family to community-
based services prior to filing the petition.

                 IV. STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on the
record and reaches its conclusions independently of the juve-
nile court’s findings. In re Interest of Samantha C., 287 Neb.
644, 843 N.W.2d 665 (2014).
   [2] The meaning of a statute is a question of law, which an
appellate court resolves independently of the trial court. Alisha
C. v. Jeremy C., 283 Neb. 340, 808 N.W.2d 875 (2012).

                          V. ANALYSIS
   At issue in this case is whether the County Attorney fulfilled
the statutory duty to make reasonable efforts to refer Hla and
his family to community-based resources prior to filing the
petition. Section 43-276(2), which became effective on August
30, 2015, states:
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     Prior to filing a petition alleging that a juvenile is a juve-
     nile as described in subdivision (3)(b) of section 43-247,
     the county attorney shall make reasonable efforts to refer
     the juvenile and family to community-based resources
     available to address the juvenile’s behaviors, provide
     crisis intervention, and maintain the juvenile safely in the
     home. Failure to describe the efforts required by this sub-
     section shall be a defense to adjudication.
And § 43-247 states in relevant part:
        The juvenile court in each county shall have jurisdic-
     tion of:
         ....
        (3) Any juvenile . . . (b) who, by reason of being way-
     ward or habitually disobedient, is uncontrolled by his or
     her parent, guardian, or custodian; who deports himself
     or herself so as to injure or endanger seriously the morals
     or health of himself, herself, or others; or who is habitu-
     ally truant from home or school . . . .
(Effective July 21, 2016, the relevant language applicable
here is still found in § 43-247(3)(b), but commencing July 1,
2017, the statute requires that the child be 11 years of age or
older.) No published case law in Nebraska has addressed the
application of § 43-276(2), as set forth above, to any juvenile
proceeding under § 43-247(3)(b). But, see, In re Interest of
Sandra I., No. A-16-371, 2016 WL 6596097 (Neb. App. Nov.
8, 2016) (selected for posting to court website).
   The State argues the County Attorney’s letter contained
a referral to services in fulfillment of the obligation under
§ 43-276(2).
                         1. Exhibit 3
  [3] Hla argues the juvenile court erred in receiving exhibit
3 (County Attorney’s letter) over his hearsay and foundation
objections. The Nebraska Evidence Rules control adduction
of evidence at an adjudication hearing under the Nebraska
Juvenile Code. In re Interest of Ashley W., 284 Neb. 424, 821
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N.W.2d 706 (2012). See, also, Neb. Rev. Stat. § 43-279(1)
(Reissue 2008).
   The undated typewritten letter was addressed to the “Parent(s)
or Guardian(s)” of Hla, whose name was handwritten. The let-
terhead said “Joe Kelly[,] Lancaster County Attorney” and
contained the seal of Lancaster County, Nebraska. The letter
concluded with:
        Sincerely,
        Joe Kelly
        Lancaster County Attorney
        [Signature of Alicia B. Henderson]
        Alicia B. Henderson
        Chief Deputy/Juvenile Division
        Lancaster County Attorney’s Office
For the reasons set forth below, we conclude the juvenile court
did not err in admitting the letter into evidence.
                          (a) Hearsay
   Hla asserts the County Attorney’s letter is hearsay and is
not admissible under any applicable hearsay exception. He
claims the State offered the letter to show that the County
Attorney referred Hla and his family to community-based
resources prior to the filing of the petition, as required by
§ 43-276(2).
   [4] Apart from rulings under the residual hearsay exception,
we review for clear error the factual findings underpinning
a trial court’s hearsay ruling and review de novo the court’s
ultimate determination to admit evidence over a hearsay objec-
tion. State v. Draganescu, 276 Neb. 448, 755 N.W.2d 57(2008). Here, the record shows only that the court overruled
the objection without explanation.
   [5] Neb. Evid. R. 801, Neb. Rev. Stat. § 27-801(3) (Reissue
2016), defines hearsay as “a statement, other than one
made by the declarant while testifying at the trial or hear-
ing, offered in evidence to prove the truth of the matter
asserted[.]” One definition of “statement,” for the purposes of
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the Nebraska Evidence Rules, is “an oral or written assertion.”
Rule 801(1)(a).
   [6,7] The Nebraska Supreme Court has stated, “If an out-of-
court statement is not offered for proving the truth of the facts
asserted, it is not hearsay.” State v. McCave, 282 Neb. 500,
531, 805 N.W.2d 290, 316-17 (2011). But it does not neces-
sarily follow that such a statement is admissible in a particular
case. Id. Apart from statements falling under the definitional
exclusions and statutory exceptions, the admissibility of an
out-of-court statement depends upon whether the statement is
offered for one or more recognized nonhearsay purposes rel-
evant to an issue in the case. Id.   [8] The State contends that the letter was offered for a
permissible, nonhearsay purpose. Specifically, that the let-
ter had legal significance, independent of the truth of the
matter asserted, because it qualified as a “verbal act.” Brief
for appellee at 7. “A verbal act is a statement that has legal
significance, i.e., it brings about a legal consequence simply
because it was spoken.” McCave, 282 Neb. at 531, 805 N.W.2d
at 317. “[W]ords that constitute a verbal act are not hearsay
even if they appear to be.” Id. Common examples of verbal
acts are words that constitute contractual agreements or terms,
or words that establish an agency relationship; they are words
that have legal significance independent of their truth. See
McCave, supra.
   [9,10] Legal commentators have stated:
         A verbal act is an utterance of an operative fact that
      gives rise to legal consequences. Verbal acts, also known
      as statements of legal consequence, are not hearsay,
      because the statement is admitted merely to show that
      it was actually made, not to prove the truth of what was
      asserted in it.
5 Jack B. Weinstein &amp; Margaret A. Berger, Weinstein’s Federal
Evidence, § 801.11[3] (Joseph M. McLaughlin ed., 2d ed.
2017). See, also, McCave, supra (where testimony is offered
to establish existence of statement rather than to prove truth of
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that statement, hearsay rule does not apply; this does not mean
that any out-of-court statement is admissible to show that it
was made; but nonhearsay purpose for offering statement does
exist when statement has legal significance because it was spo-
ken, independent of truth of matter asserted).
   As another commentator has explained:
         If the mere fact that the words were spoken creates,
      alters, or completes a legal relationship then the asser-
      tion is not hearsay. If the words spoken out-of-court have
      a legal effect of their own, not hearsay. If the utterance
      is the issue, not hearsay. Sometimes the words them-
      selves are the issue (or, often more precisely, an issue).
      Sometimes the words themselves are the principal fact in
      controversy. Examples include:
         • In a breach of contract action, the terms of a contract.
         • In a defamation action, the allegedly libelous words.
         • In an employment discrimination case, the
      racially derogatory words that created the hostile work
      environment.
         • In a tort action for intentional infliction of emotional
      distress, words used to inflict the distress.
         • In a criminal action, words that are an element of a
      crime . . . ; or words that are at issue in an affirmative
      defense to a criminal action . . . .
         These cases involve words that have a legal effect
      that is not concerned with the out-of-court declarant’s
      memory, perceptions, or honesty. In these cases, the link
      between the words spoken out of court and the issues
      in the case is direct, without having to travel through
      the sincerity of the person who spoke the words or the
      accuracy of that person’s perceptions or memory. This is
      one way of looking at the question of whether counsel is
      offering the out-of-court assertion to prove the truth of the
      matter asserted or just to show that it was made.
G. Michael Fenner, The Hearsay Rule 25-26 (3d ed. 2013). See,
e.g., U.S. v. Dupree, 706 F.3d 131 (2d Cir. 2013) (statements
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that in themselves affect parties’ legal rights are not hearsay;
temporary restraining order issued to restrain defendant from
removing assets was not hearsay, as it was verbal act and
was offered as well to show defendant was on notice); State
v. McCave, 282 Neb. 500, 531, 805 N.W.2d 290, 317 (2011)
(defendant’s stepmother’s out-of-court statements giving
defendant permission to be on property were “verbal act[s]”
relevant to central issue in trespass case of whether defendant
intended to be on property knowing he was not licensed or
privileged to do so, and thus statements were not inadmissible
as hearsay).
   In the instant case, the County Attorney’s letter was offered
to show that Hla and his family had been referred by the
County Attorney to community-based resources to help address
Hla’s truancy problem before a petition was filed. Whether the
letter had a legal effect does not depend upon the out-of-court
declarant’s credibility. See McCave, supra. And the letter had
independent legal significance because it shows that referrals
were made, but does not go to the truth of the matter asserted,
i.e., that the efforts and referrals were reasonable. The County
Attorney’s letter (exhibit 3) constituted a verbal act and was
not hearsay.

                          (b) Foundation
   Exhibit 3 was admitted into evidence based on the testi-
mony of Gerber, an instructional coordinator at Hla’s school.
Hla contends that exhibit 3 should not have been admitted
because insufficient foundation was laid to authenticate the let-
ter. Specifically, he argues that Gerber was not the author of the
letter, and he “could not identify when the letter was drafted,
who drafted the letter, or properly attest to the accuracy and
validity of the signature.” Brief for appellant at 11. In support
of his argument, Hla cites to Richards v. McClure, 290 Neb.
124, 858 N.W.2d 841 (2015). However, the Richards case,
which involved an anonymous letter offered into evidence at
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a harassment protection order hearing, is factually distinguish-
able from the instant case.
   [11] Although Hla argues that insufficient foundation
was laid via Gerber’s testimony to authenticate the County
Attorney’s letter, Hla fails to consider that the letter might be
self-authenticating under Neb. Evid. R. 902, Neb. Rev. Stat.
§ 27-902 (Reissue 2016). Rule 902 states in relevant part:
         Extrinsic evidence of authenticity as a condition prec-
      edent to admissibility is not required with respect to the
      following:
         (1) A document bearing a seal purporting to be that
      of the United States, or of any state, district, common-
      wealth, territory, or insular possession thereof, or the
      Panama Canal Zone or the Trust Territory of the Pacific
      Islands, or of a political subdivision, department, officer,
      or agency thereof, and a signature purporting to be an
      attestation or execution.
(Emphasis supplied.) Here, the document’s letterhead said “Joe
Kelly[,] Lancaster County Attorney” and contained the seal of
Lancaster County. It was signed by “Alicia B. Henderson[,]
Chief Deputy/Juvenile Division[,] Lancaster County Attorney’s
Office.” Thus, we conclude that the County Attorney’s letter
was self-authenticating under rule 902(1).
   [12] Even if the letter was not self-authenticating under
rule 902(1), we would still find that the letter was properly
authenticated by Gerber’s testimony. Neb. Evid. R. 901, Neb.
Rev. Stat. § 27-901(1) (Reissue 2016), states, “The requirement
of authentication or identification as a condition precedent
to admissibility is satisfied by evidence sufficient to support
a finding that the matter in question is what its proponent
claims.” Rule 901 does not impose a high hurdle for authen-
tication or identification. State v. Elseman, 287 Neb. 134, 841
N.W.2d 225 (2014). A proponent of evidence is not required
to conclusively prove the genuineness of the evidence or to
rule out all possibilities inconsistent with authenticity. Id. If
the proponent’s showing is sufficient to support a finding that
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the evidence is what it purports to be, the proponent has satis-
fied the requirement of rule 901(1). Id. Because authentication
rulings are necessarily fact specific, a trial court has discretion
to determine whether evidence has been properly authenti-
cated. Id.
   [13] Authentication of letters may be provided by tes-
timony. See rule 901(2)(a). See, also, Richards, supra. To
properly authenticate a letter, the witness must provide per-
sonal knowledge regarding the important facts surrounding the
letter. Id. See State v. Timmerman, 240 Neb. 74, 480 N.W.2d
411 (1992).
   Gerber testified that one of his job duties includes working
with students who are excessively absent. One of the “pri-
mary interventions” used with Hla was the collaborative plan
meeting held on October 26, 2015. The document identified
as exhibit 3 is the County Attorney’s letter that was provided
to Hla and his mother on October 26. Gerber stated that the
County Attorney provided the form letter, a copy of which is
printed out and given to all families during collaborative plan
meetings at the school; the letter outlines resources and places
to go for further information. Gerber’s testimony confirmed
the source of the letter and satisfied the requirement to show
the letter was what it claimed to be: a letter from the County
Attorney that was provided to the family of a child struggling
with attendance at school, referring them to available commu-
nity resources. Thus, the juvenile court did not err by receiving
the letter over Hla’s foundation objection.

                    2. R easonable Efforts
   Hla argues that even if exhibit 3 was validly received, there
was insufficient evidence to find the County Attorney made
reasonable efforts to refer him and his family to community-
based services prior to filing the petition as required by
§ 43-276(2). Hla asserts the letter was insufficient to fulfill the
requirements of § 43-276(2), because it did “not give [him]
any information about services that will address the specific
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barriers that make attendance at school difficult.” Brief for
appellant at 14. He argues the letter “is a generic form letter,
given to every family that has a juvenile struggling with school
attendance,” and “[i]n this case, the letter was not even in a
language that the person it was given to could comprehend.”
Id. While it is true the letter is a form letter, that factor does
not disqualify its contents from consideration of the County
Attorney’s efforts under § 43-276(2).
   [14,15] Section 43-276(2) requires the County Attorney to
“make reasonable efforts to refer the juvenile and family to
community-based resources available to address the juvenile’s
behaviors, provide crisis intervention, and maintain the juve-
nile safely in the home.” Statutory language is to be given its
plain and ordinary meaning; an appellate court will not resort
to interpretation to ascertain the meaning of statutory words
which are plain, direct, and unambiguous. In re Interest of
Danajah G. et al., 23 Neb. App. 244, 870 N.W.2d 432 (2015).
There is no ambiguity in the statute’s language; its meaning is
straightforward. We therefore review the record to determine
whether the County Attorney made reasonable efforts to refer
Hla and his family to community-based resources to address
matters related to Hla’s habitual truancy.
   At the collaborative plan meeting, the school provided Hla
and Eh with the letter prepared by the County Attorney. The let-
ter specifically requested that the family “review the ‘Lancaster
County Resource Guide’ found under ‘Community Resources’
on LPS’s Parent Page at http://www.lps.org/­parents/.” The
letter advised the family to follow up with any programs
described in the guide that “may help you address your stu-
dent’s behaviors, provide crisis intervention, and maintain your
student safely in your home.” The letter also stated, “If you
need help accessing any of those resources or determine that
some other kind of assistance would be most beneficial to your
family, we ask that you work closely with your school as part
of the collaborative planning process.” The letter also advised
that there is a person on staff at the “Lincoln/Lancaster County
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Human Services Office” who can assist the family in accessing
resources or determining whether other resources are available
to address “any barriers” to the student’s regular attendance at
school. The telephone number and office hours of the “Truancy
Resource Specialist” were provided.
   Gerber testified this letter was provided to Hla and his
mother at the collaborative plan meeting in an effort to improve
attendance. He confirmed the letter was meant to serve as a
way to assist the family in getting the necessary community
services. Both Hla and Eh signed the collaborative plan. And
Eh initialed Hla’s collaborative plan confirming her receipt
of the letter. Eh’s initials appear in the blank line next to
this statement in the plan: “7. Provided a copy of the County
Attorney Community-Based Resources Referral Letter to the
family, as indicated by their initials. Parent/Guardian initials
____.” Eh testified that at the meeting, an interpreter told her
how to access the services mentioned in the letter and gave
her a telephone number to use “for help.” When asked at the
meeting if she had any questions about the letter, Eh said she
did not have any questions. Hla was also present for this meet-
ing and asked no questions about the information contained in
the letter.
   It is important to note that in this case, when Hla, Eh, and
school officials went through the collaborative plan, no specific
barriers to Hla’s attendance were identified. The collaborative
plan states that the attendees considered the following to reduce
barriers to improve attendance: illness, educational counseling,
educational evaluation, referral to community agencies for eco-
nomic services, family or individual counseling, and assisting
the family in working with community services. It was deter-
mined that illness was not a barrier to attendance, and it was
further determined that none of the listed actions were needed
“to reduce barriers to improve regular attendance.” Therefore,
it is unclear how the letter failed to “give [Hla] any informa-
tion about services that will address the specific barriers that
make attendance at school difficult,” brief for appellant at 14,
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when no barriers were identified or otherwise discussed by Hla
or his mother at the meeting.
   Furthermore, we do not find the language barrier to be an
issue in this case. As noted previously, Hla does not raise
this issue as to his own understanding of the letter’s content;
rather, he focuses on Eh’s inability to understand the letter. Eh
was given a copy of the letter at the October 2015 meeting.
Although the letter was not written in Eh’s native language, Eh
testified that the interpreter told her how to access the services
mentioned in the letter. And when asked at the meeting if she
had any questions about the letter, Eh said she did not have
any questions. Additionally, Gerber testified the contents of the
letter could be translated at the request of the family. And Eh
testified the interpreter gave Eh her (the interpreter’s) personal
telephone number. Finally, when Eh was asked if she used an
interpreter “for anything outside of school,” she said, “Yes.”
Hla and his family clearly had sufficient resources available to
them to have the letter translated if necessary and to help them
access any necessary community programs. However, Gerber
testified neither Hla nor Eh requested additional services or
“supports” from the school to help improve Hla’s attendance.
Had additional services or support been requested, Gerber said
he would have assisted the family in making connections with
the appropriate resources.
   The record before us reveals that the County Attorney and
the school engaged in a coordinated effort to refer community-
based resources to Hla and his family to help correct attend­
ance problems before a petition for habitual truancy was filed
in the juvenile court. The County Attorney’s letter referred
the family to various available community-based resources,
which included website resources, as well as specific contact
information for a “Truancy Resource Specialist.” Hla and
his family were provided an opportunity to ask questions
about the resources at the collaborative plan meeting, and they
could have sought additional help with regard to accessing
those resources. Also, the interpreter at the meeting provided
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personal contact information for further assistance to the fam-
ily. Upon our de novo review, we find there was sufficient evi-
dence that the County Attorney complied with the “reasonable
efforts” requirement of § 43-276(2) as applied to the habitual
truancy provision of § 43-247(3)(b). To be clear, this court’s
conclusion with regard to the County Attorney’s “reasonable
efforts” in this case is limited solely to efforts pertaining to
habitual truancy and not to other juvenile behaviors encom-
passed by § 43-247(3)(b).
                      VI. CONCLUSION
   For the reasons stated above, we find the County Attorney
met the statutory obligation under § 43-276(2) as applied to
the habitual truancy provision of § 43-247(3)(b). We further
find the juvenile court properly adjudicated Hla as a juvenile
within the meaning § 43-247(3)(b) for being habitually truant
from school.
                                                   A ffirmed.
